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RACING SERV|CES AGREEMENT

THIS RACING SERVICES AGREEMENT (the “Agreement”) is entered into
as of July 6, 2014 (the “Ei’feetive Date”) by and between Andretti Spons Marketing
Louisiana, I..LC, an Indiana limited liability company (“ASM”) with its principal place
of business located at 7615 Zionsville Road, lndianapolis, lndiana 46268, and NOLA
Motorsports Host Committee, a Louisiana non-profit corporation (“NMHC" or
“Promoter“), with its principal place of business located at 11075 Nicolle Boulevard,
Avondale, Louisiana 70094. NMHC and ASM shall also be referred to hereinafter as
a “Party” or collectively as the “Parties".

WHEREAS, ASM is engaged in the business of providing motorsports
operations, management and marketing services;

WHEREAS, NMl-IC is a non-prof`tt corporation formed for the purpose of
promoting motorsports racing in the greater New Orleans area (the “City“) and is the
owner of the Event more fully described herein;

WHEREAS, NMHC desires to retain ASM to provide certain motorsports
operations, management and marketing services for the Event owned and promoted by
NMHC at NOLA Motorsports Park more fillly described herein; and

WHEREAS, NHMC shall lease the facility known as NOLA Motorsports Park
from Nola Motor Club, LLC for the purpose of producing the Event more fully
described herein.

NOW, THEREFORE, in consideration of the foregoing and the respective
representations, warranties, covenants, and agreements set forth herein, and intending
to be legally bound, the Parties agree as follows:

l. Defioitioos

(a) “Affiliate(s)” shall mean (l] all business units and divisions oi` a partyr
or its parent entities, and (2) any entity controlled by, controlling, or under common
control with such party. Such entity shall be deemed to be an “Af`i"lliate” only so long

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as such control exists Upon request, the parties agree to confirm the Af'filiate status of
a particular entity. ln the interest of clarity, NMHC is not affiliate of Nola Motor Club,
LLC or any entity associated with the Nola Motorsports Park. NHMC is an
independent non~profit corporation The board members, officers, and agents of
NHMC may, from time to time, serve in another capacity for Nola Motor Club, LLC
but such service shall not create any affiliate relationship between NHMC and Nola
Motor Club, LLC or Nola Motorsports Parlt. Further in the interest of`clarity, ASM is
not an affiliate of Andretti Autosport Holding Company or Andretti Autosport. ASM
is an independent for-profit corporation The board members, officersl members and
agent of ASM may, from time to time, serve in another capacity for Andretti
Autosport Holding Company or Andretti Autosport but such service shall not create
any affiliate relationship between ASM and Andretti Autosport Holding Company or
Andretti Autosport.

(b) “Eft`ective Date" shall mean the effective date set forth in the opening
paragraph of this Agreement.

(c] “INDYCAR New Orleans Event” or “Event” shall mean the annual
automotive race (“Raee" or “Event”), presently scheduled to begin in 2015,
sanctioned by the lndy Raeing League, LLC, dfbfa TNDYCAR, an lndiana limited
liability company, with its principal place of business located at 4551 West i6th
Street, lndianapolis, Indiana, 46222, ("lndy Raeing League" or "INDYCAR") or a
successor or an equivalent professional motorsports sanctioning body should
INDYCAR cease to exist, to be held on the grounds of the NOLA Motorsports Park
(“NOLA”), and all events and promotions related thereto.

(d) “Event Budget" shall mean the budget for undertaking the Event held
at NOLA commencing with an inaugural Event in 2015, to be approved by NMHC
subsequent to the execution of this Agreement and amended from time to time by the
Parties.

(e) “Serviees” shall mean all services, materials, licenses, or products
provided by ASM to, or for the benth of, NMHC under this Agreement, as such items
are specified in the SOW.

(f) “SOW” shall mean the Statement of Work identifying the Services to
be provided by ASM under this Agreernent, as is set f`ortl't in Schedule A to this
Agreement; and shall include any additional Schedules executed by the Parties in
respect to any additional Term (as defined herein). All work product created
hereunder, including as a result of the SOW, is work-for-hire and is the property of
NMHC.

(h) “INDYCAR NOLA Agreement“ shall mean that INDYCAR Event
Sanetion Agreement between INDYCAR and NMHC to be executed.

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2. Engagemeot of ASM; ASM’s and NMHC’s Duties and Obligations

NMI'IC hereby engages ASM, and ASM hereby agrees to be engaged by
NMHC, to provide the Services, that are set forth in the SOW, which is incorporated
as part of this Agreement as Schedule A. ASM covenants with NMHC to employ its
best skill, judgment and efforts, and to cooperate with NMHC and any other
contractors engaged by NMHC in the provision of the Services that are set forth in the
SOW. ASM further covenants to use its best efforts to perform its duties and
obligations under this Agreement in an efticient, expeditious, and economical manner.
Likewise, NMHC agrees to fulfill its obligations as set forth in this Agreement as well
as honor its responsibilities set forth in the SOW, including but not limited to its sole
responsibility to financially support the INDYCAR New Orleans Event for the Term.
NMHC shall contract directly with INDYCAR with respect to NMHC‘$ obligations to
finance and promote the lNDYCAR New Orleans Event (s).

ASM shall seek approval front NMHC before executing any agreement in
excess of 55,000 in support oi` the Event. Such approval may be in the form on an e-
mail with the \vords, “APPROVED."

3. Term and Terrnination

(a) leln_. This Agreement shall commence on the Ett"ective Date and
continue for a term up until and ending on December 31, 2017 (the “Term"), unless
earlier terminated as provided for herein. The Parties may agree to extend this
Agreement upon the mutual, written consent of the Parties.

(b) Terrnination for Cause. A Party may terminate this Agreement
immediately upon written notice to the other Party in the event that such other Party:
(i) becomes insolvent or makes assignment for the benefit of creditors; (ii) files or has
filed against it any petition under any Title of the United States Bank.ruptcy Code or
under any applicable state bankruptcy, insolvency, reorganization or similar debtor
relief law, which filing is not discharged within thirty (30] days of said filing, or (iii)
requests or suffers the appointment of` a trustee or receiver, or the entry of an
attachment or execution as to a substantial part of its business or assets. A non-
breaching Party may terminate this Agreetnent in the event the other Party materially
breaches any of its other obligations under any provision of this Agreernent, including
its Schedules, which breach is not cured within thirty (30) days after written notice
thereof by the other Party.

(c] l`:`,fi`ect of Tennination. Terrnination of this Agreentent shall not limit
either Party from pursuing other remedies available to it, including injunctive relief,
nor shall such termination relieve either Party of its obligation to pay all fees that have
accrued or are otherwise owed by such Party under this Agreement_. or refund such
fees if not earned.

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(d) Terrnination for Perfonnance. NMHC reserves the right to terminate
ASM for performance if any of the following occurs:

i. The race fails to generate the budgeted revenues and runs a deficit in
any given year following the running of the second annual race event.

ii. ASM breaches this Agreement by not providing the services it has
agreed to perform in this Agreetnent, which may include expending
more than the budgeted amount of expenditures without prior approval
of NMHC.

Terrnination under (i) shall take place within 60 days after the completion cfa race, or
within 30 days of ASM providing an accounting of revenues and expenses of the race.

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(a) _P`t=:_es. in consideration of ASM’s provision of management, operations
and promotions services set forth in the SOW for the 2015-2017 Races, attached as
Schedule A, and as outlined on the Event Budget, NMHC shall pay to ASM an annual
management fee of Four Hundred Fifty Thousand ($450,000) dollars. This
management fee is in addition to the ASM event and service costs outlined below and
incorporated into the Event Budget at Eight Hundred Seventy Two Thousand Fifly
($872,050.00) dollars annually. NMHC agrees to pay ASM the combined total for its
management fee and event and service costs of ($1,322,050) annually, in installments
as outlined pursuant to the schedule shown below.

The Parties agree to modify the payment dates for payment of the annual management
fee and ASM event and service costs set forth below in the Fee Schedules if the Event
is scheduled on a date sooner than June. If the Event is scheduled by NMHC and
lNDYCAR for a date earlier than .l'une1 then the Parties agree to accelerate the
payment schedule below in a manner whereby all payments will be made in full by the
month of the scheduled Event date and pursuant to mutual agreement of the Parties:

 

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Fee Schedule for 2015 Event

Due on or Event &

Management

 

 

 

 

 

before: Scrvice Cosl Fee row Due
lS-Aug-I4 $43,603 $34,615 $'?3,2] 8
IS-Sep-I4 $43,603 $34,615 $78,2] 8
IS-Oct- l 4 $43,603 $34,615 $78,218
l$-Nov-l4 $43,603 $34,615 $?8,218
l$-Dec-14 $43,603 $34,615 $78,218
l 5-Jan-15 $43,603 $34,615 $'78,218
I$-Feb-l 5 $43,603 $34,615 $?8,2] 8
15-Mar-l 5 $43,603 834,615 $78,218
l 5-Apr-15 $43,603 $34,6] 5 878,2] 8
15-May-15 $218,0]0 $34,615 $252,625
IS-Jun-l 5 $2] 3,0] 0 $34,615 $252,625
15-Jul-15 $43,603 $69,235 $l 12,838
3312,050 $450,000 $1,322,050
Fee Schedule for 2016 Event
Due on or Event & Mana emem

before: Service Cost Fgee Total Due
1-Ju1-15 $43,603 534,615 573,218
l-Aug-l 5 $43,603 $34,615 $?8,218
l-Sep-l 5 $43,603 534,6} 5 $78,218
l-Oct-l 5 $43,603 $34,615 $78,218

1 -NO\'-I 5 $43,603 334,615 $73,218
l-Dec»l 5 543,603 334,615 $'?8,218
l-Jan-16 $43,603 534,615 578,21 8
1-Feb-16 $43,603 334,615 $‘?8,21 8
l-Mar-16 $43,603 $34,615 $78,218
l-Apr-»l 6 $43,603 834,615 $78,218

1 ~May- l 6 821 8,010 534,615 $252,625
I-Jun-] 6 $21 8,0| 0 534,615 8252,625
l-Jul-I 6 $34,620 834,620
$8?2,050 $450,000 $1,322,050

 

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Fee Schedule for 2017 Event

Due on or Event & Management

before: Service Cost Fee
l-Jul-l 6 843,603 $34,615 $?8,218
i-Aug-l() $43,603 $34,615 $78,218
l-Sep-l 6 843,603 534,615 $78,218
l-Oct-l6 $43,603 $34,615 $78,218
l-Nov-lti $43,603 834,615 $'?8,218
l-Dec-l 6 $43,603 $34,615 $78,2] 8
l-.lan-l 7 $43,603 $34,615 $78,218
l-Feb~l 7 $43,603 $34,615 $78,2] 8
l»Mar-l') $43,603 $34,615 $?8,218
l-Apr~l')' $43,603 $34,615 $?8,218
l-May-l 7 $218,010 $34,615 $252,625
I»Jun»l”! $218,010 $34,615 $252,625
l-Jul-l'i' $34,620 $34,620
$872,050 $450,000 81,322,050

Total Due

(b) Review of Records. ASM and its Afiiliates will maintain accurate and
complete books and records associated with the Services performed for, or on-behalf
of, NMHC, including, without limitation, work specifications for race track and
facility construction, hospitality customer lists, ticketing databases (if available from
the contracted ticketing company), sponsor contact information as well as invoices and
receipts due and payable by NMHC to third-parties for the Race. Such records will be
maintained for a period of three (3) years following the termination of this Agreernent.
During the Term and no later than on the fifteenth (l$'h) day of each July that this
Agreement is in eti`ect, ASM and will provide NMI-IC with a detailed review of its
Services provided under the SOW and an after action report (a full debriefing of the
operations) for Race (or any subsequent running of the INDYCAR New Orleans Event
during an additional Term) having been completed earlier that year.

5. losuranec.

(a) ASM will advise NMHC on various insurance providers that can assist
NMHC in obtaining (with payment to be made by NMHC) general commercial
liability insurance, as needed, covering any damage to property or personal injuries to,
or death of, spectators, guests or any other person, arising from or incurred in
connection with the running of any INDYCAR New Orleans Event and all other
activities covered by this Agreement, in the greater of the following amounts: (i) the
amount required by the sanctioning bodies participating in and contracting with
NMHC for each Event.; or (ii) (A) twenty-live million dollars (U.S. $25,000,000.00)
for each occurrence involving one or more pcrson, including coverage for participants‘

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legal liability, TRJA ('I`errorism stlt lnsurance Act), spectator coverage, and liquor
liability protection, and fire legal liability protection in the amount of not less than
850,000 per occurrence and medical payments coverage of not less than $l0,000 per
person, (C) five hundred thousand dollars (U.S. $5(}0,000.00) per occurrence for
property damage, (D) advertiser’s liability and contractual coverage in the amount of
one million dollars (U.S. $l,000,000.00) per occurrence, and (E) workers
compensation insurance in the amount(s} required under and in accordance with the
State of Louisiana statutory requirements and employer`s liability insurance with
limits of not less than One Million Dollars (U.S. 51,000_.000) per accident. NMI-IC
shall ensure that such insurance policy shall include coverage for the vehicles used to
transport the fNDYCAR New Orleans Event show car and related equipment, if
applicable, and shall be in efi`ect as of the Efi`ective Date of` this Agreernent and shall
remain in effect until the termination of this Agreernent. Such insurance policy[ies)
obtained by NMHC shall name ASM as an additional coinsured and contain
endorsements identifying the City’s elected and appointed officials and employees,
authorized volunteers, and INDYCAR New Orleans Event spectators and participants
as additional insureds all without cost to ASM, shall be primary and non-contributory
with respect to insurance provided and shall provide that the insurer will not cancel cr
modify such coverage except after at least thirty (30) days written notice to ASM and
NMHC. A copy of such policy or a certificate of insurance evidencing such coverage
shall be furnished to ASM by NMHC. Failurc to provide the aforesaid certificate or
other evidence in the manner and time required or to maintain the insurance coverage
specified herein shall be deemed a material breach of this Agreement. All insurance
policies procured pursuant to this Section 4 shall be obtained from nationally-
recognized insurance carriers that are qualified and licensed to write insurance in New
Orleans and have a current rating of` or equivalent to “A-, Vlll” by A.M. Best &
Company.

{b] During the Terrn, ASM will maintain one or more liability insurance
policies providing coverage relative to ASM’s obligations under this Agreement.
Such insurance shall provide coverage of no less than (A) 5!,000,000.00 of
Commercial General Liability (CGL) insurance which shall include advertiser’s
liability and contractual liability coverage to cover ASM‘s obligations under the terms
of this Agreernent, and (B) auto liability insurance covering ASM’s liability to pay
claims because of damage to property and l`or injuries or death of any persons arising
out of the ownership, maintenance or use of any motor vehicle, in an amount of not
less than $l,DO0,000.00 combined single limit for each accident. NMHC shall be
named an additional insured’s under the said insurance policy or policies. A
certificate of insurance evidencing each such policy in a form satisfactory to ASM
shall be furnished to them upon request Failure to provide the aforesaid certificate or
other evidence in the manner and time required or to maintain the insurance coverage
specified herein shall be deemed a material breach of this Agrecment.

6. ASM Personnel. All personnel supplied or used by ASM shall be deemed
employees or subcontractors of ASM and will not be considered employees, agents or
subcontractors of NMHC for any purpose whatsoever. ASM assumes full

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responsibility for the actions of all such personnel while performing services under
this Agreement and for the payment of their compensation [including, if applicable,
withholding of income taxes, and the payment and withholding of social security and
other payroll taxes), workers’ compensation, disability benefits and the like to the
extent applicable to the personnel involved. Notwithstanding and without in any way
limiting any terms and conditions set forth in this Agreement, all subcontractors of
ASM shall be deemed to have made all of the representations and warranties of ASM
set forth herein and shall be subject to any obligations of ASM hereunder.

7. lodemnii'ications. Each Party agrees to indemnify, protect, defend and hold
harmless the other Party, its Afi`r|iates, if any, and their respective shareholders,
members, directors, officers, employees and agents from and against any and all
clairns, costs, liabilities, losses, judgments, expenses, damages, injuries, demands,
actions, causes of action, suits and proceedings including reasonable attomeys‘ fees,
court costs and other expenses including, without limitation, those costs incurred at
trial and appellate levels and in any bankruptcy, reorganization, insolvency or other
similar proceedings (collectively, “Claims"), arising from or connected with: (a) any
breach by a Party of its obligations under any provision of this Agreement or any
material inaccuracy of any representation or warranty made by either of them herein;
(b) any negligent act or omission or willful misconduct by a Party, including its
employees, servants and agents, related to its obligations andfor performance under
this Agreement; (c) copyright or trademark infi'ingernent actions asserted by any third
parties arising out of publication, use or depletion of the third party’s name andfor
trademarks as authorimd by a Party. A Party shall give the other Party prompt notice
of any Claim brought against it coming within the purview of these indemnities.
Within five (S) business days alter receipt of such notice, the party having the
indemnification obligation hereunder (the “Indemnitor”) shall undertake the defense
of such Claim with counsel reasonably satisfactory to and approved by the Party
entitled to indemnification hereunder (the “lndemnitee”). If the indemnitor fails to
undertake and sustain the defense of any Claim in the manner required by this Section
7, the lndemnitee may engage separate counsel, pay, settle or otherwise finally resolve
such Claim for the account and at the risk and expense of the Indemnitor. Any
payment, settlement or final resolution otherwise by the lndemnitee shall release the
lndemnitor from liability for such Claim (subject to thc Indemnitor’s reimbursement of
any such settlement paid made by Indemnitee). lf the lndemnitor undertakes the
defense of a Claim in the manner required by this Section 7, the Indemnitee may, at its
own expense, engage separate counsel and participate in the defense of any Claim
brought against it.

8. Trademarks. ASM grants to NMl-IC the right to display logos, trademarks,
trade names, service marks and copyrights (“Marks”) of` ASM (the “ASM Marks”)
solely for the purposes of promoting, marketing and operating (or any related action
thereto) the INDYCAR New Orleans Event during the Term and any additional Term.
in such manner as approved by ASM, such approval not to be unreasonably withheld
or delayed. NMHC agrees that it is not acquiring any rights, title, or interest in or to
ASM’s Marlts, or ASM’s Aff'rliate’s Marks. NMHC covenants and agrees that it will
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only use ASM’s Marks as approved by ASM, in accordance with the terms of this
Agreement and that all such use shall be in conformity with ASM’s graphic standards
for ASM’s Marks. All forms of advertising and promotions using ASM's Marks are
subject to the prior approval of ASM, which shall not be unreasonably withheld or
delayed. NMHC acknowledges that the right to use ASM’s Marks is non-exclusive,
non-assignable and non-transferable and terminable

9. Representations and Warraoties. Each of the Parties hereby represents and
warrants to the other Party that: (a) it is a limited liability company or non-profit
corporation to be formed shortly or duly organized and in good standing in its state of
organization (and in the case of ASM, that it is qualified to do business in the State of
Louisiana), and has adequate power to enter into and perform this Agreement; {b) this
Agreement has been duly authorized, executed and delivered on behalf of such Party,
and constitutes the legal, valid and binding agreement of such Party, enforceable in
accordance with its terms; (c) the individual executing this Agreement has the right,
authority and power to enter into this Agreement on behalf of such Party; and (d) such
Party has obtained and, through the Terrn, will maintain the requisite permissions,
authorizations and consents to fully perfomt hereunder.

10. Assiggment. Neither this Agreement nor any rights granted hereunder may be
sold, leased, assigned, or otherwise transferred, in whole or in part, by either Party,
and any such attempted assignment shall be void and of no effect without the advance
written consent of the other Party.

ll. Confideotial lnformation. Each Party may have access to information that is
confidential to the other Party (“Confidential Information”). Confidential
lnformation shall include any infomtation that is clearly identified in writing at the
time of disclosure as confidential as well as any information that, based on the
circumstances under which it was disclosed, a reasonable person would believe to be
confidential. Coniidential information shall include, but not be limited to, formulas,
methods, know how, processes, designs, new products, developmental work,
marketing requirements, marketing plans, customer names, prospective customer
names, and the terms and pricing under this Agreement, regardless of whether such
information is identified as confidential. Confidential lnformation includes all
information received from third parties that either Party is obligated to treat as
confidential and oral information that is identified by either Party as coniidential.

A Party’s Con{idential Infon'nation shall not include information that (a) is or
becomes a part of` the public domain through no act or omission of the receiving PaJty;
(ii) was in the receiving Party’s lawful possession prior to its disclosure by the other
Party and had not been obtained by the receiving Party either directly or indirectly
from the disclosing Party; (iii) is lawfully disclosed to the receiving Party by a third
party without restriction on disclosure; or (iv) is independently developed by a Party
without use of or reference to a disclosing Party‘s Confidential Information. In
addition, this Section will not be construed to prohibit disclosure of Confidential
lnt`ormation to the extent that such disclosure is required by law or valid order of a

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court or other governmental authority; yt)r'ovt`dtzdl however. that the disclosing
responding Party shall first have given notice to the other Party and a reasonable
opportunity to obtain a protective order, or the disclosing Party shall have made a
reasonable effort to obtain a protective order requiring that the Confidential
Information so disclosed be used only for the purposes for which the order was issued.

Each of the Parties agrees, unless required by law, not to make the other’s
Confidential Infortnation available in any form to any third party (except to a Party’s
directors, officers, employees, agents, or representatives, including, without limitation,
its attorneys, accountants, consultants and financial advisors) or to use each other’s
Confidential lnformation for any purpose other than in the performance ol` this
Agreement. Each Parry agrees to take all reasonable steps to ensure that Confidential
Information is not disclosed or distributed by its employees or agents in breach of this
Agreement. The parties agree to hold each other‘s Confidential Information in
confidence during the Tenn of this Agreement and for a period of eighteen (18)
months thereal’ter. Each Party acknowledges and agrees that, due to the unique nature
of Confidential Infotmation, there can be no adequate remedy at law for breach of this
Section and that such breach would cause irreparable harm to the non-breaching Party;
therefore, the non-breaching Party shall be entitled to seek immediate injunctive reliel`,
in addition to whatever remedies it might have at law or under this Agreernent.

12. Non-SolieitatioofNMHC Personnel.

(a) During the Term (or any additional Terrn) and for a period of twenty-
f`our (24) months after its termination, neither NMHC nor ASM shall, without the
other Pa.rty’s prior written approval, solicit for employment, directly or indirectly
(either as an employee, contractor, independent agent, or representative of another
vendor), any of the other Party’s employees or independent contractor staff members.

(b) Any personnel furnished by NMHC in respect to the operation of the
INDYCAR New Orleans Event, notwithstanding any of the provisions herein,
continue to be NMHC’s employees and shall not for any purpose be considered
ASM’s employees NMHC shall be solely responsible for the payment of` the salaries
and!or fee of such NMHC personnel and matters relating thereto, including the
withholding andfor payment of all federal, state and local income and other payroll
taxes, workmen‘s compensation, disability benefits, and all such additional legal
requirements of like nature applicable to such personnel.

13. Govg_rningl..gwaurisdiction. This Agreement is made in the State of Louisiana and
shall be governed by the substantive provisions of Louisiana law without regard to its
conflicts of laws rules. The Parties agree that any legal action or proceeding with respect to
this Agreement shall be brought exclusively in the State Courts or United States District
Court located in New Orleans, Louisiana or .lef`f`erson Parish, Louisiana. Each of the Parties
irrevocably consents to the personal jurisdiction of such courts, and all courts to which
appeals may be taken from such courts, agrees to accept service of process by certified or

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registered mail and hereby waives any jurisdictional or venue defenses otherwise available to
it. Should any Party commence legal action to interpret or enforce or obtain any remedy for
breach of the terms of this Agreement, the prevailing Party in such action shall be entitled to
recover reasonable attomey’s fees, court costs and other legal expenses_. including without
limitation, attorneyis fees, court costs and other legal expenses incurred at the trial and
appellate levels and in any bankruptcy, reorganization, insolvency or other similar
proceedings

Any claim arising out of or relating to a dispute, interpretation or enforcement of any
provision in this Agreernent, or any breach thereof, except for any disputes relating to the
confidential information or the marks or the enforcement of any of the covenants in this
Agreement, shall be decided via private arbitration and by a single arbitrator (not
administered by the American Arbitration Association) in New Orleans, Louisiana, but in
accordance with the commercial rules of the American Arbitration Association then in effect
and judgment upon the award may be entered in any court having jurisdiction thereof and
shall he final, binding, and unappealable. The arbitrator is explicitly authorized to award
attomeys' fees as part of the award. Nothing contained herein shall, however, be construed to
limit or to preclude either Party from bringing any action in any court of competent
jurisdiction for injunctive or other provisional relief to comply with its obligations and
covenants hereunder or to protect its marks, copyrights. trade secrets, or confidential
information This arbitration provision shall be deemed to be self-executing and in the event
that either Party fails to appear at any properly noticed arbitration proceeding, an award and
corresponding judgment may be entered against either Party in accordance with the terms of
this paragraph, notwithstanding a Party’s failure to appear.

14. Notiees. All notices required or permitted hereunder shall be in writing and
shall be either personally delivered, delivered by a national courier service (e.g.,
Federai Express, U.P.S. if domestic, DHL if international), sent by registered or
certified U.S. mail, return receipt requested or sent by facsimile or electronic mail
during the addressee’s regular business hours and if by facsimile. continued by
facsimile answerback and in each case addressed as follows:

If` to NMHC LLC:

 

Nola Motorsports Host Committee
llU'?'S Nicol le Boulevard
Avondale,l LA ?0094

Attn:

With a copy to {such copv not constituting notice):
TBD

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lf to Andretti Sports Marketing, LLC:

Andretti Sports Marketing, LLC
7615 Zionsville Road
Indianapolis, IN 46268

Attn: John .l. Lopes, President

With a copy to (such copy not constith notice):

Andretti Sports Marketing, LLC
7615 Zionsville Road
lndianapolis, TN 46268

Attn: Eunice Spells

15. Egnitable Rigl_rts; Remedies and Remedies Cumulative. In addition to all other

rights and remedies available under applicable law or as set forth in this Agreement, each
Party shall he entitled to injunctive relief restraining the breach or threatened breach of each
Party’s obligation under Sections 8,11, 12 and other of the various terms of this Agreement or
the unauthorized use of the intellectual property of either Party, and to specific performance
thereof. The Parties agree that monetary damages would not be adequate compensation for
any loss incurred by reason of a breach of Sections 8, ll or 12 or unauthorized use of
intellectual property and agree to waive the defense in any action for injunctive relief or
specific performance thereof that a remedy at law would be adequate Neither of the Parties
shall be required to ii.tmish a bond in order to obtain equitable relief and if a bond cannot be
waived, security thereon shall not be required. The rights and remedies set forth herein are
intended to be cumulative, and the exercise of any right or remedy by either Party shall not
preclude or waive its exercise of any other rights or remedies hereunder or pursuant to law or

equity.

16. Severabilig;. ln the event any provision of this Agreement is held to be invalid or
unenforceable, the remaining provisions of this Agreernent will remain in hill force.

17. Waivers!Amendments. No alteration, change, modification or waiver of or to this
Agreement shall be valid or binding unless in writing and signed by both Parties hereto. No
additional Schedules (excepting the original SOW set forth in Schedule A) to the Agreement
shall be valid or binding unless in writing and signed by both Parties hereto. No evidence of
any alteration, change, modification or waiver of or to this Agreement orally or by a
unilateral inconsistent course of conduct or by any other means except in compliance with the
preceding sentence shall be admissible in any court, arbitration or mediation proceeding
concerning the enforcement or construction of this Agreement. The failure of either Party to
object to or to take affirmative action with respect to any conduct of the other Party which is
in violation of the terms hereof shall not be construed as a waiver thereof, nor of any
subsequent breach or wrongful conduct

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18. Force Ma`|eure. Each Party will be excused from performance for any period during
which, and to the extent that, it or its subcontractor(s) is prevented from performing any
obligation or service, in whole or in part, as a result of causes beyond its reasonable control,
and without its fault or negligence including without limitation, acts of God, strikes,
lockouts, riots, acts of war, epidemics, communication line failures, and power failures, etc.
(“Foree Majeure”). During the Terrn or any additional Term, if there is an unexpected
cancellation and with out postponement and rescheduling of the INDYCAR New Orleans
Event due to an event of Force Majeure, ASM may retain Fees it has received from
INDYCAR and will negotiate any fee issues directly with INDYCAR.

19. Relationship between the Parties. The Parties are independent contractors; nothing
in this Agreernent shall be construed to create a partnership, joint venture or agency
relationship between the parties.

20. Public Announcemcnt. Neither Party will, without the express written consent of the
other Party (such consent not to be unreasonable withheld or delayed), publish any press
release or make any public announcement relating to this Agreement andfor the business
relationship created herein, except as may be required by law, regulation or governmental
authority. Once INDYCAR publishes its 2015 race schedule, the Parties agree to mutually
work together to issue a press release to publically announce this Agreernent and the
INDYCAR New Orleans Event.

21. No Construction against Drat`ting Pa;ty. Each Party to this Agreernent expressly
recognizes that this Agreement results from a negotiation process in which each Party

participated and contributed to the drafting of this Agreement. Accordingly, no legal or other
presumptions in favor of, or adverse to, either Party concerning the construction or
interpretation of this Agreement shall apply and each Party expressly waives the right to
assert such a presumption in any proceedings or disputes connected with, arising out of, or
involving this Agreement. The language, terms, conditions, and provisions of this
Agreement are the result of negotiations between the parties and this Agreement will not be
construed in favor of or against any Party by reason of the extent to which any Party or its
professional advisors participated in the preparation of this Agreement or based on a Party's
undertaking of an obligation under this Agreement.

22. Entire Agreement. This Agreement, together with the attached schedules, which are
incorporated by reference, constitutes the complete agreement between the parties and
supersedes all prior or contemporaneous agreements or representations, written or oral,
concerning the subject matter of this Agreement and such Schedules. This Agreernent may
not be modified or amended except in writing signed by a duly authorized representative of
each Party; No other act, document, usage or custom shall be deemed to amend or modify
this Agreement.

23. Survival. Each Party hereto agrees that the obligations and duties and any other
provision herein which must similarly survive in order to affect the purpose and/or intent of
this Agreement, are continuing obligations and duties and shall survive the termination of this
Agreement until the expiration of all applicable statutes ol` limitation

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24. Couote[parts. This Agreement may be executed in two (2) counterparts1 each of
which shall be considered one and the same Agreement. The Parties agree that for purposes
of negotiating and tinalizing this Agreement, any signed documentation, including this
Agreement and any subsequent amendments, transmitted electronically or by facsimile
machine shall be treated in all manners and in all respects as an original document and shall
have the same binding legal effect as an original contract. An electronic, photocopied or
facsimile signature of any Party shall be considered for these purposes as an original
signature At the request of either Party, any facsimile, photocopied or electronic executed
document shall be re-executed by both Parties in an original form.

25. Voiding of Agreement. This Agreement shall be considered null and void if (a)
lndyCar and NMHC fail to execute a binding sanction agreement or (b) the $4.5 million in
funds allocated by the State of Louisiana are not distributed to the NMHC or, (c) the Event is
cancelled. lt the Event is cancelled, ASM shall be entitled to all sums eamed up until the
written notification of Event cancellation

26. Funding of NMHC. The NMHC warrants that it has $l million in funds
available to it to fund the Event. All revenues shall flow into an account established to fund
the event. lt shall be the responsibility of ASM to manage the cash flow to ensure that the $l
million referenced herein in addition to the revenues generated by the Event are sufficient to
timely pay for all costs necessary to fund the Event. ASM shall be entitled to alter when
payments are made for expenditures, within the budgeted amount, to ensure sufficient cash
flow to timely make all payments Nothing in this Race Serviees Agreement, including but
not limited to this Paragraph 26, shall make the debts of the NMHC the debts of ASM.
NMHC shall be solely liable for the debts incurred by it and those duly authorized debts
incurred on its behalf.

WHEREOF, the Parties, through their respective duly authorized and acting
representatives, have executed this Agreement to be effective in accordance with the terms as

set forth herein.
ANoRt-:THYARKMG_MC

BY: h v
Austiii"btltrlte Taylor.
Member and EVP

 

NOLA Mo'ronsr-oars nos'r coMMmEE
BY: l// . ,/1/~_"*_"

Kri§ten Engeron`,'
President, Nola Motorsports Host Committee

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Racing Services Agreem ent
Statement of Work

INDYCAR New Orleans Event

This Statement of Work (the “SOW") is an attachment to, and a necessary component ol`, the
Racing Services Agreement dated as of July 6, 2014 (the “Agreement“) by and between
NOLA Molor Company, a Louisiana limited liability company (“NMHC") and Andretti
Sports Marketing Louisiana, LLC (“ASM”) Capitalized terms used in this SOW but not
defined herein have the meanings given in the Agreernent.

Scope of Proiect

NMHC is the owner and promoter of the Race (afk/a the INDYCAR New Orleans Event).
NMHC has connected with ASM for the development, coordination, management operation
and execution of a private label solution for conducting the Event commencing in 2014 and
scheduled for 2015, 2016 and 2017, which are to be sanctioned as part of the Verizon
INDYCAR Series. ASM shall perform duties as the manager of the Race. ln such capacity,
ASM shall develop, coordinate, manage and execute promotional processes including both
the operational and commercial disciplines required with respect to the Event. The Parties
agree that each is responsible for the provision of their own legal and accounting services in
support of the INDYCAR New Orleans Event.

General

ASM will provide Services sufficient to satisfy NMHC's obligations to promote and put on
the 2015 Event and in subsequent years during the Terrn. ASM shall provide the Services in
accordance with this SOW and shall act at NMHC’$ contractor responsible for coordinating
matters related to the Event Budget and for consulting with NMl-IC with respect to matters of
the Event Budget (including a time line setting forth funding needs). ASM shall have no
authority to obligate NMHC with respect to any expenditure, other than those set forth in the
Event Budget, which may be reviewed and amended by NMHC at any time in consultation
with ASM. ASM shall obtain consent from NMHC for any expenditure not listed in the
Event Budget or for those expenses in excess of the amount allocated with respect thereto in
the Event Budget. NMHC shall be fully and solely responsible for all of the expenses in the
Event Budget and all of the expenses associated with the Event, including any and all
commercial and operational services expenses associated with the Event as outlined in this
Agreement and this Schedule A. ASM shall be responsible for the payment ol` items in the
Event Budget only if noted in this Agreement as being specifically paid by ASM. NMHC
acknowledges that the Event Budget is a living document in that it will grow and contract in
various categories of expense as the Event project progresses and that the 2015 Event is a
first year event with no historical data to reference and, as such, the 2015 Event will serve as
a benchmark for the development of future Event budgets.

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Without otherwise limiting the scope of the Services provided by ASM, ASM shall provide
the following Services in respect to the Race:

Com mercial Management Services

ASM will provide oversight and management of all commercial activities of the Race.
ASM staff will execute the Race both operationally and commercially.

ASM will provide a General Manager for the Race who will oversee on a full-time basis,
and have primary responsibility for, operations of the Race.

ASM will provide executive staff, as required, to assist in municipal discussions,
negotiation and press events related to the Race.

ASM will manage the sales process, the production of all sales materials and provide staff
required for all national sponsorships, local sponsorships, hospitality, vendors and sales.
ASM will provide, via its third-party law firm or in-house counsel, legal services required
for sponsor, vendor, on-site sales (suites, coach parking, etc.) and hospitality contracts
ASM will oversee, manage, negotiate and consult with all parties for the lNDYCAR
sanction agreements through their finalization and implementation

ASM will provide and execute the marketing and media plan for the Race. Expenses
related to the marketing and media plans‘ implementation shall be paid by NMHC.

ASM will provide media strategy consultation and advertising/media purchase planning
and execution for the Race as well as retain manage the media buying agency on
NMHC’s behalf. NMHC shall pay and all media purchase expenses

ASM will manage the selection of markeUDMA specific advertising strategies in
conjunction with media agency. NMHC shall pay for such media agency‘s fees, if
applicable

ASM will manage trophy design and production NMl-IC will pay for such design and
production

ASM will manage Race entertainment (celebrity wrangling, air shovv, clowns, face
painters, family programing, concert production, staging, talent acquisition, backline
management, ancillary music, street entertainment, any carnival aspects of the Race as
applicable). NMHC will pay for such Race entertainment.

ASM will provide media center management

ASM will provide sponsor contract negotiation

ASM will provide public relations management, including management of local and
national agencies and staffing. NMHC shall pay for any New Orleans or Louisiana
specific public relations agencies it retains for its own bellali`.

ASM will provide corporate relations management both locally and nationally.

ASM will provide credentials and accreditation services

ASM will provide client services and sponsor fulfillment
ASM will provide creative services, both digital and traditional.
ASM will manage, design and update the Event website at ASM’s expense

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' ASM will select and manage a third party ticket system provider, who will provide online

ticket sales and ticket fullillment.

" ASM will manage the relationship with the ticketing company, seat manifest and

customer problem resolution

' ASM will provide operation of event box oilice. The expenses of such box ofl'lce

operation shall be paid by NMHC.

' ASM will provide public address services and ASM shall pay for the public address

announcer. NMHC shall pay for any public address system infrastrncture.
' ASM will provide volunteer acquisition, training and management

° ASM will provide or arrange for its own insurance as required under this Agreement.

NMHC shall pay for its insurance obligations

' ASM will arrange for, production, design and management of the souvenir program.

NMHC shall pay for such production.
° ASM shall secure and pay for a master of ceremonies f`or the Race.
' ASM will manage local business interruption issues, together with NMI-IC, if applicable

‘ ASM will undertake and manage the sales efforts for the Event, including management of
any third party contract sales agents. ASM shall pay the salary or retainer of third party
sales agents it retains to fulfill its obligations pursuant to this Agreement. The revenue of
all sales for the Event shall be the sole property of NMHC. ln the Event that a third party
sales agent works on a commission basis, as agreed by NMHC and ASM collectively,
then such commission shall be paid by NMHC from the NMHC sponsorship sales
revenue For purposes of clarity. ASM shall not be paid commissions l`or its sales related
services pursuant to this Agreernent and ASM makes no guarantees that its sales efforts
shall be successful or meet any defined criteria However, ASM shall exercise its good
faith efforts to work with NMHC in achieving its sales goals for the Event. In that regard,
it is understood that NMHC shall contribute its good faith effort to the sales process for
the Event in terms of networking ASM representatives within the Louisiana corporate
community and making its officers and principals available for important sales meetings
Each of the Parties hereto shall work cooperativer to enhance the ability of each other’s
efforts during the sales and sponsor prospecting process in support of the Event. Such

sales eii`orts shall focus upon but not be limited to the following:

- To sell title sponsor

- To sell presenting sponsor

- To sell support race title sponsor
- 'l`o sell comer sponsors

- To sell category sponsors

- To sell iniield si gnage packages
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- 'I`o sell bridge or false-bridge sponsorship, if applicable

- To sell media center sponsorship

- To sell paddock sponsorship

- To sell credential center sponsorship

- To sell beverage sponsorships (alcoholic and non-alcoholic)

- To sell otiicial vehicle sponsorships

- To sell in-kind advertising and promotional partner relationships, and
- To package in-kind relationships that may offset NMHC’s cost of operations

ASM will manage end liaise with retailors on the development, execution and evaluation
of local market POS programs, in-store marketing initiatives and co-prornotional
relationshipsl

ASM will manage all on-site and exit sampling programs ASM is authorized to collect a
fee for its sampling services from a sponsor if required by that sponsor to manage exit
sampling

ASM will manage the program or fan guide (ii` applicablc), media!news insert
development, press releases, and race-team information packets. Costs for the program
or fan guide shall be the responsibility of NMHC.

ASM will organize and coordinate all promotional events such as charity gala, local on-
premise bar)'nightclub pre-promotions and special events in-support of the Race. The
Parties contemplate that these support and promotional events shall be paid for in large
part by third parties such as NMl-IC’s sponsors.

ASM will adequately store all program elements including product samples, program
uniforrns, collateral, staging elements and materials at NMl-IC’s facilities

ASM will be responsible for recruiting, training and managing all activation staff and
supervisors for each event and the duration of the various events in support of the Race.
ASM will liaise with primary point of contacts with the sales and marketing of the various
sponsors oi`NMl-lC’s sponsors for on-premise, retail and media promotions, if applicable
ASM will manage all creative approvals for POS, signage, marketing and media
regarding sponsors usage of municipal or tourism marks in the promotion of the Race.
ASM will ensure meticulous client service and reporting throughout duration of the
Event’s planning and build-up including planning and activation time frames, weekly
status meetings, program tracking documents, client meetings, municipal authority
updates as needed including but not limited to (presentations, reports, emails, etc.).

ASM will provide a comprehensive wrap-up report, compiling activation data, key
leaming, future recommendations, measured-media reporting and return-on-investment
analysis, each within sixty (60) days from the conclusion of the Race annually.

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* ASlvl will manage and provide post-Event economic impact study and return on
investment reporting for public officials as needed.

' ASM will conduct on-site consumer survey for NMHC as well as Race sponsors and the
City. Such survey is intended to capture data relevant to the successful conduct of future
Events and for use in providing a compelling message to community leaders about the
attendees of the Race.

* ASM will develop, manage and execute a Race entertainment plan, paid for by NMHC
and incorporated into the NMHC approved Event budget, which may or may not include:

- Coordination of all ceremonies and event production

- Pre & post-race Cercmony coordination with INDYCAR, lndy Lights and any
other support series

- VIPlparticipant coordination

- Grand Marshal, starter & anthem talent research and coordination

- Sponsor VIP management and coordination

- Pre and post-race scripting and organization

- VIP and driver parades (includes oversight of graphics installation if required)

- PA/video board coordination

- Sponsor inventory coordination/collection

- Traiiicking and reports

- Talent management and scheduling

- Equipment oversight

- On-site concert production as required

- Scripting

- Riders, backline, green room

- Military coordinationfactivation-ily by acquisition and paperwork, all ancillary
military programming (color guards etc.), if possible

- Developrnent of fan midway!interactive logistics and programming (driver
autograph sessions and fan programming)

- On-site driver appearance needs and support programming

' ASM will manage media strategy, including:

o l.ocal and national media outreach,
Social media plan
Social media influencers
Conduct press announcement
Coordinate for race car drivers to travel into the market to promote the Race (so
long as the travel expenses of each is pre-approved and paid for by NMHC)
Coordinate INDYCAR executive presence at announcements when possible
Coordinate with local CVB and Tourism authorities, together with NMHC
Rally local business presence and support, together with NMHC
Developing and execute ticket launch strategy, in conjunction with NMHC

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o Develop and launch website and ticketing online requirements, in conjunction
NMHC

o Provide a day to day contact for Event sponsors, business partners and municipal
authorities

o Develop local charity of choice in conjunction with NMHC pursuant tc NMHC’s

direction

Planning and execution of all PR programming

Media relations and management

Manage local PR agency, if necessary and required by NMHC

Ongoing and ii'equent contact with sanctioning organizations

Provide staff members to ensure activation and integration of stakeholder benefits

PR stunt planning and production, if applicable

Crisis planning, activation and management

Coordination of media days and tours, if applicable

Conduct teleconferences, interview opportunities and integration of the Event into

community

Manage cause marketing initiatives

0versee all media accreditation programs and access planning

Ensure services are in alignment with social media messaging, and

Provide guidance in the production collateral and messaging content for the press

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' Manage contract labor
’ Responsible for special promotions or activities that occur off-site (e.g., bar promotions,

street parties, etc.)

Ogeratinns Managemeot Scrvices Provided

' ASM Will provide oversight and management of all operational activities in support of the
Race.
" ASM will manage all equipment hire including but not limited to scai’i`olding, stages,

video boards, generators, radios, cable TV, sound, PA, cart rentals, grandstands, and
suites. The expense of such equipment hire shall be paid by NMHC.

" ASM will provide track operations and track build consultation and management as
needed (spectator fencing, safety system install, barrier fence rental, traffic control
systems, bridge rental and installation and rail modifications, trucking and transportation,
fence maintenance, stand~by crews, install and remove of signage, scrim, barriers, tire
barriers, false bridges, paving, oil dry, curbing, painting of logos]. The expense of track
systems referenced above shall be paid for by NMHC.

* Management of portable buildings (timing and scoring, race contrcl, spectator medical
trailer), if portable buildings are applicable

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Management of signage vendor and Race specific signage needs (suites, grandstand
seating, way-fmding, entries, local promotional, City, State, directional, miscellaneous).
Provision of an operations team for the Race including a Director of Operations .

ASM will manage and oversee the FlA relationship for track inspection and sanctiun.
ASM will acquire block, fence, and bridges as needed for the Race and at NMHC’s
expense pursuant to the Event budget.

ASM will provide logistics manager and stafl`.

ASM will provide emergency vehicle dispatch.

ASM will provide emergency operations plan and coordination

ASM will provide race control staffing.

ASM will provide Race control operations and staffing.

ASM will provide pit lane and fuel management.

ASM will provide circuit and paddock engineering

ASM will provide coordination with all City services.

ASM will provide coordination with EMS, police, fire, and FEMA.

ASM will provide coordination with FAA, l-lomeland Security and U.S. military assets as
necded.

ASM will manage midway, merchandise space and vendors

ASM will manage motorhome parking for team and driver hospital ity.

ASM will manage re»bills to teams and vendors for electric, scaffolding, portable toilet,
golf cart and other rentals.

ASM will manage circuit configuration and planning, integrating local business needs.
ASM will manage circuit build start to finish to storage full service.

ASM will manage overall site planning and build of Event specific assets.

ASM will manage grandstand quantities, locations and construction

ASM will manage suite locations and construction

ASM will manage bridge locations, dimensions and construction (if applicable).
ASM will manage safety planning.

ASM will collaborate with City, State and Parish services

ASM will manage podium placement ceremony specific assets.

ASM will recommend big screen quantities and locations and arrangements

ASM will provide drawings - CAD &. PDF including FIA certification requirements
ASM will manage tire suppression system - pit lane.

ASM will manage vendor locations.

ASM will manage concert area location design and implementation

ASM will coordinate and organize flag marshals

ASM will manage spectator access and flow.

ASM will manage sanctioning body communication

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* ASM will build on-track schedule incorporating support series in coordination with
sanctioning bodies.

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ASM will manage security planning with municipal authorities
ASM will operate Race control.

ASM will construct emergency plan

ASM will organize paddock areas.

* ASM will manage all support services, via various entities and vendors connected by
NMHC, as necessary, including:

Security

Electrical

Cleaning and janitorial

Standby crew services

Police

EMS

FEMA

Fire

Spectator medical

Course medical

Pit lane tire system management

Fuel

Welding

'I`owing

Distribution of television cables
Distribution of electric and generator needs
Shuttle bus management

Red carpet management

Course workers and SCCA coordination
Photography credentials, placement
Portable toilets

'I`rash

Black waste removal

Landscaping

Parking

Storage

Facility coordination and programing if applicable to the site, or in the alternative
all public and private facilities provided
Exbibition space management, if applicable

Personnel Providecl bv ASM
Executive Management

Executive staff support

Administrative staff support

Legal staff support (NMHC provides its own legal services)
Accounting staff support (NMHC provides its own Event aceounting)
General Manager (overall conduct ot` Event operations)

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Operations Statng

Operations Director

Operations Manager

Operations Assistant

Parlting/Traflic Manager

Track Operations Manager ( if applicable)
Track Dispatcher (ii` applicable)
Ernergency Operations Coordinator
Engineering linn (expense paid by NMHC)
Signage Coordinator

Car Corral Manager

Commercial Stafling

Marketing & Advertising Director

Marketing Coordinator

Advertising Agency Support to develop media plan and to coordinate media
purchase, as part of NMHC media purchase expense

Client Services Manager

Client Services -l

Client Services -2

Creative Designer

Public Relations and Corporate Commtmications Director
Public Relations Agency (locai agency paid for by NMHC if required)
Media Center Manager

Photographer & Videographer

Ticketing and Credential Manager

Box Of`fice Manager

Saies Director (for both National and Local Sales)

Sales Persons (Local, may be commissioned 3'd party sales)
Ceremonies Manager

P.A. Announcer

Volunteer Supervisor

Consumer Survey and ROI Team Members

Website Developer

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First Amendment to the
Racing Ser'vices Agreement
by and between
Nola Motorsports Host Committee, lnc.
And
Andretti Sports Marketing I.ouisiana, LLC.

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Whereas, No|a Motorsports Host Committee, Inc. and Andretti Sports Marl<eting
Louisiana, LLC entered into a contract titled Racing 5ervices Agreement with an

effective date of july 6, 2014;

Whereas, the parties wish to amend said agreement in consideration ofa race date

being negotiated with lndycar, LLC; and

Whereas, the parties seek to correct a typographical error on the signature page of
said Agreernent by making clear that Andretti Sports Marketing Louisiana, LLC is the

party to the Agreement, and not Andretti Sports Marketing, LLC;

Now therefore, the parties agree to the following:

1. The original agreement shall remain in full force and effect except as

modified herein

2. The parties agree that a typographical error shall be corrected to make clear

that Andretti Sports Marketing Louisiana, LLC and not Andretti
Marketing, LLC is the party to said Agreement.

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3. The Fee Schedu|e in Section 4 shall be deleted in its entirety and replaced

with the following Fee Schedule:

Fee Schedule for 2015 Event

 

Due On or Before Race Servlces Fee Management Fee Total
8/15/14 $96,895 596,895
9/15/14 $96,895 $96,895
10/15/14 $96,895 $96,895
11/15/14 596,895 $96,895
12/15/14 sss,sss 596,395
1/15/15 $96,895 $96,895
2115/15 $96,895 $96,895
3/15/15 $96,895 $50,000 $146,895
411/15 $96,895 $200,000 5296,895

5/15/15 $200,000 $zoo,ooo

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Year 1 Total $872,055 $450,{100 $1,322,055
Fee Schedule for 2016 Event
Due On or Before Race Services Fee Managernent Fee Total
6;15/15 543,603.00 534,615.00 578,2 ts.oo
7/15/15 $43,603.00 $34,615.00 $?8,218.00
8/15/15 543,503.00 534,615.00 $78,218.00
9/15/15 $43,603,00 $34.615.00 $78,218.00
10/15/15 543,603.00 $34,615.00 $78,218.00
11/15/15 $43,603.00 534,615.00 $78,218.00
12}15/15 $43,603.00 $34,615.00 578,218.00
1/15/16 $43,603.00 $34,615.00 $78,218.00
2115/16 $43,603.00 $34,615.00 $?8,218.00
3/1/16 $218,010.00 $34,615.00 $252,625.00
411/16 szts,olo.oo 534,515.00 $252,625.00
sits/16 543,603.00 $69,235.00 5112,338.00
rear 2 Total $s')z,oso.oo $4so,ooo.oo $1,322,050.00
Fee Schedule for 2017 Event
Due On or Before Race Services Fee Management Fee Tota|

5/15116 sas,cos.oo $34,615.00 $73,213.00
7/15/16 543,503.00 534,515.00 srs,zis.oo
8/15/16 543,603.00 $34,615.00 $78,218.00
9/15/16 $43,603.00 $34,615.00 $78,218.00
tons/16 543,603.00 $34,615.00 srs,zia.oo
11/15/16 $43,603.00 $34,615.00 $78,218.00
12/15/16 $43,603.00 $34,615.00 $78,218.00
1115/17 543,603.00 $34,615.00 $78,218.00
2115/17 $43,603.00 $34,615.00 $78,218.00
3/15/17 $218,010.00 $34,615.00 $252,625.00
411/17 szsl,cls.oo $69,230.00 5330,843.00
5/1/17 534,620.00 534,620.00

Year 3 Tetal $arz,oso.oo $450,000.00 $1,322,050.00

 

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WHEREOF, the Parties, through their respective duly authorized and acting
representatives, have executed this First Amendment to the Racing Services Agrecment
to be effective on this 27“‘ day of August, 2014 accordance with the terms as set forth
herein

ANDRETTI SPORTS MARKETING
LOUISIANA LLC

BY:

`\-.l.

Austin Starlte Taylor, Partner

NOI.A Motorsports Host Committee, Inc.

littell ll§rrlw/‘ BY:

Kristen Engeron, President
Nola Motorspo:ts Host Committee

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